                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA


UNITED STATES OF AMERICA,                             )    CaseNo. 3 '. ~0 -    mj-    oooOS - Am~
                                                      )
                       Plaintiff                      )
                                                      )
VS.                                                   )
                                                      )
        ANGEL MARTIN-LARA                             )
                                                      )
                                                      )
                  Defendant(s)                        )
                                                      )
                                                      )




AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT



       I Wendy Terry, being first duly sworn upon oath, hereby depose and states as follow~



                      BACKGROUND AND EXPERIENCE OF AFFIANT

      1. I am an "investigative or law enforcement officer of the United States" within the ,...,

         meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the ~
                                                                                                      ~
         United States who is empowered by law to conduct investigations of, and to make

         arrests for, offenses enumerated in Title 18, United States Code, Section 2516. I have

         been employed by the FBI as a Special Agent since June 2014. I am currently assigned

         to the Violent Crime Squad in the FBI Anchorage Field Office. During my time with

         the FBI, I have lead and participated in investigations involving violent crimes, threats,

         robbery, drugs, and child pornography. I have also been an affiant on multiple federal




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   search warrants seeking information relating to investigations of threats, robb~              ~

   drugs, and child pornography offenses. Prior to June 2014, I was employed with~
                                                                                              c....
   Savannah Chatham Metropolitan Police Department (SCMPD) in Savannah, Georgia,              )>
                                                                                              :z
                                                                                              .....,
   as a Police Officer and Detective. As a Police Officer and Detective, I was assigned to    c:::,


   the Patrol Unit, Crime Suppression Unit, Property Crimes Detective Unit, and               ~
   Homicide Detective Unit. During these assignments I led and participated in a large

   number of property crime investigations; led and participated in a large number of drug-

   related arrests, including buy-bust operations, reverse buy operations, and surveillance

   operations; and assisted in the preparation and execution of numerous search warrants

   and arrest warrants. The execution of these search and arrest warrants led to, among

   other things, the seizure of communication devices, computers, and other documents

   relating to the transportation, ordering, purchase and distribution of controlled

   substances, and recovery of stolen property.

2. Pursuant to my background, training, and experience, as well as the training and

   experience of other law enforcement personnel with whom I have consulted regarding

   this case, investigation of this case has shown that:

                            PURPOSE OF AFFIDAVIT

3. This affidavit is made in support of a criminal complaint against and arrest warrant for

   Angel Martin-Lara for the violation of Title 21 U.S .C. Sections 841,846, 841(b)(l)(A)

    {Possession with Intent to Distribute Methamphetamine heroin, and Conspiracy to

   distribute methamphetamine and heroin} .

4. The information contained below is from my personal knowledge, from other law

   enforcement agents and officers, or from specific sources as set forth. It does not




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   include all the information known to me as part of this investigation, but only

   information sufficient to establish probable cause.

                                    PROBABLE CAUSE

5. On December 20, 2019, acting on information received from investigators with the             C-..
                                                                                                )>
                                                                                                ::z
   Statewide Drug Enforcement Unit, members with the Airport Interdiction Team                  N


   (AAIT) and Federal Bureau of Investigation executed a controlled purchase of heroin

   from ANGEL MARTIN-LARA of 1 ounce of heroin for $2,000, from MARTIN-

   LARA' s residence.

6. Subsequently, on January 3, 2020 members of the AAIT executed a state search warrant

   (3AN-20-00024SW) at MARTIN-LARA's residence, yielding in the seizure of

   2828grams of heroin (623lbs), 3190 grams of methamphetamine (7lbs), 17 grams of

   cocaine, 627 grams of marijuana, $60,394 in cash drug proceeds, and 13 firearms, both

   handguns and long guns.

7. MARTIN-LARA was arrested and remanded to the Anchorage jail.

8. In my training and experience, and in speaking to other investigators, this amount of

   methamphetamine has an approximate wholesale value of $84,000; heroin has an

   approximate wholesale value of $192,000, resulting in a street value far exceeding that

   for sales of user quantities.

9. Based on the foregoing, I submit that there is probable cause to believe that Angel

   Martin-Lara possessed           with   intent to   distribute   500   grams   or more   of

   methamphetamine and heroin {Title 21 , U.S.C. Section 841(a)(l), (b)(l)(A)}, and

   conspired to distribute over 500 grams or more of methamphetamine {Title 21 U.S.C.

   Section 846, 841 (b)( 1)(A)}.




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Further the Affiant sayeth not.
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       DA TED at Anchorage, Alaska, this   5           day of    0a Y)            , 2020.
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                                            pecial Agent
                                           Federal Bureau of Invest,,.,,_.,.,._...-..


       SUBSCRIBED AND SWORN to before me this




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